                           UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF NORTH CAROLINA
                                 WESTERN DIVISION

                              CIVIL ACTION NO.: 5:16-cv-411-FL

ARTISAN JEWELERS, INC.,                          )
                                                 )
                      Plaintiff,                 )
                                                 )
                                                        NOTICE OF SETTLEMENT AND
       vs.                                       )
                                                        DISMISSAL WITH PREJUDICE
                                                 )
VERRAGIO, LTD.                                   )
                                                 )
                      Defendant.                 )
                                                 )
                                                 )

       PLEASE TAKE NOTICE that Plaintiff Artisan Jewelers, Inc., by and through counsel

and pursuant to Rule 41(a)(1)(A)(i) of the Federal Rules of Civil Procedure, hereby dismisses all

claims asserted in this action against Defendant Verragio, Ltd. with prejudice.

       This the 6th day of September, 2016.



                                              /s/ Christopher M. Thomas
                                              Christopher M. Thomas
                                              N.C. Bar No. 31834
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                                              Catherine R.L. Lawson
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                                 CERTIFICATE OF SERVICE

       I hereby certify that on this date a true and correct copy of the foregoing “Notice Of

Settlement and Dismissal With Prejudice” was served on the Defendant via U.S. Mail and

addressed as follows:

                 Howard Kroll
                 Tucker Ellis, LLP
                 515 South Flower Street, 42nd Floor
                 Los Angeles, CA 90071


       This the 6th day of September, 2016.



                                              /s/ Christopher M. Thomas
                                              Christopher M. Thomas
                                              N.C. Bar No. 31834
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